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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                  Plaintiffs,                            4:23CR3051

      vs.
                                                          ORDER
JOHNNY PALERMO,

                  Defendant.


UNITED STATES OF AMERICA,
                                                         4:23CR3052
                  Plaintiffs,

      vs.

JOHNNY PALERMO,

                  Defendant.



      Defendant has moved to continue Defendant’s change of plea hearing.
(4:23CR3051, Filing No. 157; 4:23CR3052, Filing No. 150). As explained by
counsel, the parties need additional time to engage in plea discussions. The
motion to continue is unopposed. Based on the representations of counsel, the
court finds the motion should be granted. Accordingly,

      IT IS ORDERED:

      1)    Defendant’s motion to continue, (4:23CR3051, Filing No. 157;
            4:23CR3052, Filing No. 150), is granted.

      2)    Defendant's plea hearing will be held before the undersigned
            magistrate judge on January 10, 2024 at 2:00 p.m.. Defendant is
            ordered to appear at this hearing.
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    3)    For the reasons stated by counsel, the Court finds that the ends of
          justice served by continuing Defendant's plea hearing outweigh the
          best interest of Defendant and the public in a speedy trial.
          Accordingly, the time between today's date and the district court
          judge's acceptance or rejection of the anticipated plea of guilty shall
          be excluded for speedy trial calculation purposes. 18 U.S.C. §
          3161(h)(7). Failing to timely object to this order as provided under
          this court’s local rules will be deemed a waiver of any right to later
          claim the time should not have been excluded under the Speedy
          Trial Act.

    Dated this 22nd day of November, 2023.

                                          BY THE COURT:

                                          s/ Cheryl R. Zwart
                                          United States Magistrate Judge
